Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 1 of 14 PageID# 16290



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                            Newport News Division                                        - 7 2021

                                                                                            clW,u.s.uisiwoiouW
 ROYCE SOLOMON,el al., individually                                                                  mhrFOLK. va
 and on behalfofall others similarly situated.

                  Plaintiffs,                                                  Civil ActionNo. 4:17-cv-145

                  V.



 AMERICAN WEB LOAN,INC., et al..

                  Defendants.


     ORDER GRANTING PRELIMINARY APPROVAL OF REVISED CLASS ACTION
                                                 SETTLEMENT


           Plaintiffs Royce Solomon, Jodi Belleci, Michael Littlejohn, and Giulianna Lomaglio

  (collectively, "Plaintiffs") have moved the Court for preliminary approval of a proposed class
  action settlement with American Web Loan, Inc.; AWL, Inc.; Red Stone, Inc. (successor-in-

  interest to MacFarlane Group, Inc.): Mark Curry; Sol Partners, LLC: Medley Opportunity Fund 11.

  LP: Medley Capital Corporation; Medley Management, Inc.; Medley Group, LLC: Brook laube;

  Seth Tatibe; Middlemarch Partners, LLC: and Middlemarch Securities, LLC (collectively.

  "Defendants"), as well as Northwood Asset Management Group, LLC ("Northwood"), the terms

  of which are set forth in the Revised Settlement Agreement filed with the Court on March 31. 2021

  (the "Revised Settlement Agreement")(ECF No. 483-1) as an exhibit to Plaintiffs' Motion I'or

  Preliminary Approval of the Class Action Settlement Agreement ("Preliminary Approval

  Motion").'

          Upon review and consideration of Plaintiff s Preliminary Approval Motion, the memoranda




  ' Unless ollicrwise defined herein, ail capitalized lerms shall have the meanings provided in the Revised Seiliemeni
  Agreement. ECF No. 483-1.

                                                           1
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 2 of 14 PageID# 16291



 and arguments submitted on behalf of the Settlement Class and Settled Objectors, the Revised

 Settlement Agreement, and exhibits attached thereto, and finding good cause exists to grant the

 Preliminary Approval Motion,IT IS HEREBY ORDERED as follows:

           1.      The Court hereby preliminarily approves the Settlement, including all provisions

  set forth in the Revised Settlement Agreement and the exhibits attached thereto, and finds the

  Settlement set forth therein to be fair, reasonable and adequate, free of collusion or indicia of

  unfairness, and within the range of possible final judicial approval,subject to further consideration

  at the Final Approval Hearing described in Paragraph 32 below. In making this determination, the

  Court has considered the current posture of the Action and the risks and benefits to the Parties

  involved in both settlement of these claims and the continuation of the Action, and finds that the

  settlement between the Settlement Class, Settled Objectors, Defendants, and Northwood was

  arrived at through arm's length negotiations and exchange ofinformation by experienced counsel.

           2.      The Court finds that the Settlement falls within the range ofreasonableness because

  it provides for meaningful remediation relative to the merits of Plaintiffs' claims and the

  Defendants' defenses in that Settlement Class Members will obtain substantial monetary and non-

  monetary relief. The Court further finds that the Settlement adequately addresses the objections

  raised by the Settled Objectors* and the concerns that resulted in the Court not granting final

  approval of the previously proposed settlement as reflected in the Court's Order of November 6.

  2020. This Preliminary Approval Order amends and supersedes this prior order granting

  preliminary approval entered on June 26, 2020.

           3.      For these reasons and those otherwise stated herein, the Court finds that, pursuant

  to Fed. R. Civ. P., 23(e)(l)(B)(i) the Court will likely be able to grant final approval of the



 ^ Counsel for Settled Objectors include: Leonard Bennett of Consumer Litigation Associates, PC, Kristi Cahoon Kell of
 Kelly Guzzo, PLC, Irv Ackelsberg and John Grogan of Langer Grogan & Diver P.C., Jason Causey of Bordas &
 Bordas. PLLC,and Bren Pomponio of Mountain State Justice, Inc.
                                                          2
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 3 of 14 PageID# 16292



  Settlement under Fed. R. Civ. P. 23(e)(2).

         4.      The Court further finds, for the reasons stated herein, that the Court will likely be

  able to finally certify the Settlement Class for the purposes ofjudgment on the proposed Settlement

  pursuant to Fed. R. Civ. P. 23(e)(l)(B)(ii).

   CONDITIONAL CERTIFICATION OF SETTLEMENT CLASS AND APPOINTMENT
     OF SETTLEMENT CLASS REPRESENTATIVES AND SETTLEMENT CLASS
                                               COUNSEL


         5.      For purposes of this Revised Settlement only, and conditioned upon the Settlement

  receiving final approval following the Final Approval Hearing, this Court hereby conditionally

  certifies a Settlement Class for settlement purposes only pursuant to Rules 23(a) and (b)(3) of the

  Federal Rules of Civil Procedure, defined as follows:

         All persons within the United States to whom American Web Loan, Inc., AWL,
         Inc., or any predecessor or successor entities, lent money during the period from
         February 10,2010 to June 26,2020.

         6.      Solely for purposes of the proposed Settlement of this Action, the Court

  preliminarily finds and concludes that each element required for certification of the Settlement

  Class pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure has been met:

  (a)the members of the Settlement Class are so numerous that their joinder in the Action would be

  impracticable; (b) there are questions of law and fact common to the Settlement Class; (c) the

  claims of Plaintiffs in this Action are typical of the claims of the Settlement Class;(d) Plaintiffs

  and Settlement Class Counsel have and will fairly and adequately represent and protect the

  interests ofthe Settlement Class;(e)the questions oflaw and fact common to the Settlement Class

  predominate over any questions affecting any individual member of the Settlement Class; and (f)

  a class action is superior to other available methods for the fair and efficient disposition of the

  Action. The Court also concludes that, because the Action is being settled rather than litigated, the

  Court need not consider manageability issues that might be presented by trial of a class action
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 4 of 14 PageID# 16293



  involving the issues in this case.

         7.      For purposes of the Settlement only, the Court finds and concludes that Plaintills

  will fairly and adequately represent the interests of the Settlement Class in enforcing the rights ol

  the Settlement Class in this Action and therefore appoints Royce Solomon, Jodi Belleci, Michael

  Littlejohn, and Giulianna Lomaglio to serve as Settlement Class Representatives of the

  conditionally certified Settlement Class.

         8.      For purposes of the Settlement only, the Court appoints as Settlement Class

  Counsel the law firms of Berman Tabacco, Gravel & Shea P.C., and MichieHamlett PLLC. For

  purposes of these Settlement approval proceedings, the Court finds that these law firms are

  competent and capable of exercising their responsibilities as Settlement Class Counsel and have

  fairly and adequately represented the interests of the Settlement Class for settlement purposes.

                      CLASS NOTICE AND SETTLEMENT ADMINISTRATION

         9.      Since the Court finds that the Settlement is likely to be approved under Fed. R. Civ.

  P. 23(e)(2), and that the Court is likely to grant final approval to the Settlement Class, the Court

  hereby directs notice to the Settlement Class pursuant to Fed. R. Civ. P. 23(e)(1)(B).

          10.    The Court approves the form and content of the Email Notice, Long Form Notice,

  Digital Publication Notice, and Debt Cancellation Notice (annexed hereto as Exhibits 1 -4), and

  the use of the Settlement Website (collectively, the "Notice"), and finds that the procedures

  established for dissemination of the Notice substantially in the manner and form set forth in

  Paragraph 13 of this Preliminary Approval Order (the "Notice Program") meet the requirements

  of Rule 23 ofthe Federal Rules of Civil Procedure,the Constitution ofthe United States(including

  the Due Process clause), and any other applicable law; and constitute the best notice practicable

  under the circumstances to apprise Settlement Class Members of the proposed Settlement, the

  effect ofthe proposed Settlement, and their right to exclude themselves from the Settlement Class
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 5 of 14 PageID# 16294



  or to object to any aspect ofthe proposed Settlement and appear at the Final Approval Hearing.

         11.     The Court also finds that the Notice Program is the best notice practicable under

  the circumstances and satisfies due process and Rule 23 of the Federal Rules of Civil Procedure.

  The Court finds that the language ofthe proposed Class Notice is plain and easy to understand and

  provides neutral and objective information about the nature of the Settlement. Furthermore, the

  Court finds that the proposed Notice Program complies with Fed. R. Civ. P. 23(c)(2) because it

  provides direct, individual notice to all Settlement Class Members for whom Defendants have

  maintained personally identifying information or otherwise can be identified through reasonable

  effort. The Court further finds that the Digital Publication Notice and Settlement Website are

  reasonably calculated under the circumstances to apprise Settlement Class Members of the nature

  of the Action, the scope of the Settlement Class, the Settlement Class's claims, issues, and

  defenses, the right to appear, object, or exclude one's self and the procedures for doing so, and of

  the binding effect ofa Judgment on the Settlement Class in satisfaction ofthe requirements of Fed.

  R. Civ. P. 23(e)(2)(B).

         12.     The Court appoints A.B. Data, Ltd., to serve as the Settlement Class Administrator

  to supervise and administer the Notice Program and carry out the Settlement Class Administrator's

  responsibilities set forth herein and in the Settlement Agreement. As further set forth in the

  Settlement Agreement, the Settlement Class Administrator shall be responsible for, without

  limitation:(a)the dissemination of Notice to the Settlement Class;(b)obtaining new addresses for

  returned mail;(c) setting up and maintaining the Settlement Website, www.AWLSettlement.com,

  which is already active; (d) setting up a toll-free number to provide information and field

  Settlement Class Member inquires;(e)initiating and administering the Digital Publication Notice;

  (0 fielding inquiries about the Settlement; (g) receiving and processing claims submitted by

  Settlement Class Members whose AWL loans were issued between February 10, 20201 and
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 6 of 14 PageID# 16295




  December 31,2011;(h)implementing distribution of Cash Awards to Settlement Class Members;

  (i) notifying Settlement Class Members whose loans are being cancelled as disputed debt; (j)

  maintain records of its activities regarding Notice and Settlement administration; and(k)carrying

  out other responsibilities as are provided for in the Settlement Agreement or reasonable required

  to effectuate the Settlement Agreement, in consultation with Settlement Class Counsel, Counsel

  for Defendants, and Counsel for Settled Objectors.

         13.     Notice ofthe Settlement and the Final Approval Hearing shall be given as follows:

               a. No later than ten (10) days after entry of this Preliminary Approval Order (the

  "Notice Date"), the Settlement Class Administrator shall cause the Email Notice, in a form

  substantially similar as the copy annexed to the Settlement Agreement as Exhibit 1, to be emailed

  to all Settlement Class Members at the email addresses used in connection with their AWL loans.

  For any Settlement Class Member whose email address is not valid or otherwise results in a

  returned or undeliverable email message notification, and for whom the Settlement Class

  Administrator cannot identify a current and valid email address, the Settlement Class

  Administrator shall attempt to identify an alternative valid email address for that Settlement Class

  Member and/or, ifsuch alternative valid email address is unavailable, promptly mail, by first-class

  mail, postage prepaid, a copy of the Long Form Notice to any such Settlement Class Member

  whose mailing address may be identified through reasonable effort;

               b.On or before the Notice Date,the Settlement Class Administrator shall cause a copy

  of the Long Form Notice, in a form substantially similar to E.xhibit 2, as well as a copy of the

  Settlement Agreement, to be placed on the Settlement Website, www.AWLSettlement.com.

               c. On or before the Notice Date, the Settlement Class Administrator shall execute the

  Digital Publication Notice in a form substantially similar to Exhibit 3,in accordance with the terms

  set forth in the Settlement Agreement.
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 7 of 14 PageID# 16296




          14.     The Settlement Class Administrator is further directed to establish and administer

  a toll-free telephone number to field inquiries from Settlement Class Members,as set forth in the

  Settlement Agreement, which toll-free number is already active.

          15.     No later than twenty-one (21) days prior to the Final Approval Hearing, the

  Settlement Class Administrator will provide Settlement Class Counsel and counsel for Defendants

   with an affidavit or declaration that the distribution and/or mailing and digital publication of the

  Notice was completed in a timely manner and otherwise in accordance with this Preliminary

  Approval Order, which affidavit or declaration shall be filed with the Court.

          16.     As provided in the Settlement Agreement, prior to the Effective Date, without

  further order of the Court, Settlement Class Counsel may expend up to $350,000.00 of the

  Monetary Consideration to pay Notice and Administration Expenses actually and reasonably

  incurred by the Settlement Class Administrator. However, all costs of issuing a second or revised

  Notice to inform Settlement Class Members ofany terms ofthe Settlement shall be paid out ofany

  fee awarded to Settlement Class Counsel.

                                      REQUESTS FOR EXCLUSION


          17.     Settlement Class Members may elect to exclude themselves or "opt-out" from the

  Settlement by following the procedures set forth in the Settlement Agreement for doing so. If a

  Settlement Class Member wishes to be excluded from the Settlement and not to be bound by the

  Settlement Agreement, that person must advise the Settlement Class Administrator in writing of

  that intent prior to the Opt-Out Deadline, which shall be forty-five (45) days af^er entry of this

  Preliminary Approval Order. In a written request for exclusion, the Settlement Class Member

  seeking exclusion must provide his or her full name, address, telephone number, a statement that

  he or she wants to be excluded ("I request to be excluded from the class settlement in this case"),

  and the Class Member's signature. All Settlement Class Members who submit valid and timely
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 8 of 14 PageID# 16297



  requests for exclusion in the manner set forth in this paragraph shall have no rights under the

  Settlement, shall not share in the distribution of the Settlement Fund, and shall not be bound by

  the Settlement or Judgment.

          18.   Requests for exclusion must be postmarked on or before the Opt-Out Deadline of

  June 9,2021. The date ofthe postmark on the return mailing envelope shall be the exclusive means

   used to determine whether a request for exclusion has been timely submitted. The Court retains

  jurisdiction to resolve any disputed exclusion requests.

          19.    A Settlement Class Member who initially opts out ofthe Settlement may choose to

  opt back in to the Settlement so long as the opt-in request is postmarked prior to the Opt-Out

   Deadline.


          20.    No one shall be permitted to exercise any exclusion rights on behalf of any other

  person, whether as an agent or representative ofanother or otherwise,except upon proofof a legal

  power of attorney, conservatorship, trusteeship, or other legal authorization. "Mass" or "class"

  opt-outs filed by third parties on behalf of a "mass" or "class" of Settlement Class Members will

  not be valid. Each opt-out request must be submitted on an individual basis.

          21.    Any member of the Settlement Class who submits a valid and timely request for

  exclusion will not be a Settlement Class Member,shall not be bound by the terms ofthe Settlement

  Agreement, should it be finally approved, and may not file an objection to the Settlement

  Agreement or to any application for attorneys' fees, reimbursement of costs, or Service Awards,

  or otherwise intervene in the Action.


         22.     Any Settlement Class Member who does not submit a valid and timely request for

  exclusion from the Settlement Class in the manner stated in this Preliminary Approval Order shall

  be deemed to have waived his or her right to be excluded from the Settlement Class, shall forever

  be barred from requesting exclusion from the Settlement Class in this or any other proceeding,and


                                                  8
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 9 of 14 PageID# 16298



  shall be bound by the Settlement and the Judgment, including, but not limited to, the release ofthe

   Released Claims provided for in the Settlement Agreement and the Judgment, if the Court

  approves the Settlement.

          23.     Pursuant to the Settlement Agreement, the Settlement Class Administrator shall

   provide counsel to the Parties with copies ofall opt-out requests it receives and shall provide a list

  of all Settlement Class Members who timely and validly opted out of the Settlement in its

  declaration to be filed with the Court in connection with Settlement Class Counsel's motion for

   final approval ofthe Settlement.

                                                 OBJECTIONS


          24.     Any Settlement Class Member who does not opt out of the Settlement and intends

  to object to any aspect of the proposed Settlement, request for attorneys' fees and reimbursement

  of costs, or Service Awards must file with the Court a written objection signed by the Settlement

  Class Member by the Objection Deadline of June 9, 2021.

          25.     For an objection to be considered by the Court, the objection must set forth and

  include the following:

                a. the Settlement Class Member's full name, address, email address, and telephone
  number;
                b. an explanation ofthe basis upon which the Objector claims to be a Settlement Class
  Member;
               c. the reasons for his or her objection, accompanied by any legal or factual support
  for the objection;
               d. the name of counsel for the Objector (if any), including any former or current
  counsel who may seek compensation for any reason related to the objection to the Settlement, the
  attorneys' fees application, the reimbursement of costs application, or the application for Service
  Awards;
               e. the case name and civil action number of any other objections the Objector or his
  or her counsel have made in other class action cases in the last four(4) years; and
               f. whether the Objector intends to appear at the Final Approval Hearing on his or her
  own behalf or through counsel.

          26.     A Settlement Class Member may not both opt out of the Settlement and object. If

  a Settlement Class Member submits both a request for exclusion and an objection, the request for
                                                    9
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 10 of 14 PageID# 16299




   exclusion will control.


          27.    Only objections filed in this Court shall be considered as objections.

          28.     Upon receipt ofany objection, if any Party believes that discovery is appropriate as

   to a particular Objection, that Party shall file a Motion no longer than three(3) pages without any

   separate brief and shall identify the discovery so requested. Such Motion shall be served upon the

   subject Objector. That Objector and any Party shall respond to that Motion with no longer than

   three(3) pages in opposition, within five days ofthe filing ofthe Motion.

          29.     No one shall be permitted to exercise any objection rights on behalf of any other

   person, whether as an agent or representative ofanother or otherwise, except upon proofofa legal

   power of attorney, conservatorship, trusteeship, or other legal authorization. "Mass" or "class"

   objections filed by third parties on behalfofa "mass"or "class" of Settlement Class Members will

   not be valid. Each objection request must be submitted on an individual basis.

          30.     Any Settlement Class Member may hire their own attomey, at their own expense,

   to represent them in making written objections or in appearing at the Final Approval Hearing. No

   member of the Settlement Class or counsel retained by such a member of the Settlement Class

   shall be entitled to be heard at the Final Approval Hearing unless the objector or his or her attorneys

   who intend to make an appearance at the Final Approval Hearing state their intention to appear in

   person to be heard upon the objection filed with the Court in accordance with this Order and the

   terms of the Settlement Agreement. Counsel for any Objector must enter a Notice of Appearance

   no later than fourteen (14)days before the Final Approval Hearing.

          31.     Any Settlement Class Member who does not file an objection in the time and

   manner set forth herein shall be deemed to have waived all objections and be forever foreclosed

   from making any objection to the fairness or adequacy ofthe Settlement, including but not limited

   to the compensation to Settlement Class Members,the award of attorneys' fees and reimbursement


                                                     10
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 11 of 14 PageID# 16300



   of costs, the Service Awards, or the Final Approval Order and Judgment.

                    FINAL APPROVAL HEARING; RIGHT TO BE HEARD

          32.     The Court will hold a Final Approval Hearing under Rule 23(e)ofthe Federal Rules

   of Civil Procedure,on July 9,2021 at 11:00 a.m., in the United States District Court for the Eastern

   District of Virginia,600 Granby Street, Norfolk, VA,for the following purposes:(a)to determine

   whether the Settlement should be finally approved as fair, reasonable, adequate and in the best

   interests of the Settlement Class;(b)to address any objections to the Settlement;(c) to determine

   whether Settlement Class Counsel's and Counsel for Settled Objectors' requested attorneys' fees

   and reimbursement of expenses and the Service Awards to the Settlement Class Representatives

   and Settled Objectors should be approved;(d)to determine whether a Judgment finally approving

   the Settlement should be entered dismissing and releasing the Released Claims (as that term is

   defined in the Settlement Agreement) with prejudice; and (e) to consider any other matters that

   may properly be brought before the Court in connection with the Settlement. The date of the Final

   Approval Hearing may be continued by the Court from time to time without the necessity offurther

   notice to the Settlement Class.


          33.     Any Settlement Class Member may enter an appearance in this Action, at his or her

   own expense, individually or through counsel. If, however, a Settlement Class Member wishes to

   object to the Settlement at the Final Approval Hearing (either personally or through counsel), the

   Settlement Class Member must submit a written objection as set forth in the Notice, Settlement

   Agreement, and this Order. All Settlement Class members who have not or do not enter an

   appearance will be represented by Settlement Class Counsel.

          34.     The Motion for final approval of the Settlement and application for an award of

   attorneys' fees, reimbursement of costs, and Service Awards as well as any supporting

   documentation in support thereof shall be filed with the Court no later than forty-five (45) days

                                                   I!
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 12 of 14 PageID# 16301




    prior to the Final Approval Hearing.^ If any objection to the Settlement is filed pursuant to this

    Order and the Settlement Agreement, a response to any such objection to the Settlement shall be

    filed with the Court no later than fourteen (14)days before the Final Approval Hearing.

             35.     The Court reserves the right to (a) adjourn or continue the Final Approval Hearing,

    without further notice to Settlement Class Members; and (b) approve the Settlement with

    modification and without further notice to Settlement Class Members. Settlement Class Counsel

    shall cause any new date for the Final Approval Hearing to be posted on the website dedicated to

    the Settlement. The Court retains jurisdiction of this Action to consider all further applications

    arising out of or otherwise relating to the proposed Settlement; to allow, disallow or adjust on

    equitable grounds the claims of any member of the Settlement Class; and as otherwise warranted.

                                                  STAY OF LITIGATION


             36.     Pending the Final Approval Hearing, all proceedings in this Action are stayed and

    suspended until further order of this Court, except such actions as may be necessary to carry out

    or enforce the terms and conditions of the Settlement Agreement and this Preliminary Approval

    Order.


                                               OTHER PROVISIONS


             37.     For the benefit of the Settlement Class and to protect this Court's jurisdiction, this

    Court retains continuing jurisdiction over the Settlement proceedings relating to the interpretation,

    administration, implementation, effectuation, and enforcement of this Settlement.

             38.     Any deadlines set in this Preliminary Approval Order may be extended by order of

    the Court, for good cause shown, without further notice to the Settlement Class, except that notice

    ofany such extensions shall be posted to the Settlement Website. Members ofthe Settlement Class



 'As noted infra, the Court reduced the $16 million cap that Settlement Class Counsel has agreed to not exceed when
  requesting attorneys' fees and costs by SI million to a final total cap ofSIS million. The abovementioned SI million will
  be paid to Objectors' counsel as additional attorneys fees in addition to the requested upon S2.S million.
                                                             12
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 13 of 14 PageID# 16302



   should check the Settlement Website regularly for updates, changes, and/or further details

   regarding extensions of these deadlines.

           39.    The Parties are directed to carry out their obligations under the Settlement

   Agreement and are hereby authorized to use all reasonable procedures in connection with approval

   and administration of the Settlement that are not materially inconsistent with this Order or the

   Settlement Agreement, including making, without further approval of the Court, minor changes to

   the Settlement Agreement or to the form and content of the Notice that the Parties jointly agree

   are reasonable or necessary, and which do not limit the rights of Settlement Class Members under

   the Settlement Agreement.

          40.     In the event that the proposed Settlement is not finally approved by the Court,or in

   the event that the Settlement Agreement becomes null and void or terminates pursuant to its terms,

   this Preliminary Approval Order and all orders entered in connection with the Settlement

   Agreement shall become null and void and shall be of no further force and effect, and the Parties"

   rights and defenses shall be restored, without prejudice, to their respective positions as if the

   Settlement Agreement had never been executed.

         Finally, pursuant to the Settlement Approval Conference held on April 7, 2021, and with no

  objections from the parties, the Court HEREBY ORDERS that the $16 million cap that Settlement

  Class Counsel agreed to not exceed in the documents filed when requesting attorneys' fees and costs,

  be reduced by $1 million to a final total cap of $15 million. The Court also ORDERS that the

  abovementioned $1 million will be paid to Objectors' counsel as attorneys' fees in addition to the

  $2.5 million heretofore requested . This additional $1 million shall not be payable to any third-party

  entity, charitable or otherwise. The Court additionally ORDERS that all expenses associated with




                                                   13
Case 4:17-cv-00145-HCM-RJK Document 486 Filed 04/07/21 Page 14 of 14 PageID# 16303



  the settlement including the hiring of any third-party entities'^ and their fees will be paid out of the

  now $15 million cap on Settlement Class Counsel attorneys" fees and costs. Further, the Court

  ORDERS that parties need not submit a revised settlement agreement or revised motion for

  preliminary approval of the settlement agreement.


  The Clerk is REQUESTED to send a copy of this Order to all counsel of record.

  It is so ORDERED.



  Entered:              '17, ^0Z(                                                               /s/
                                                                            Henry Coke Morgan, Jr.
                                                                            Senior United States DistricfJ^d
                                                                                Henry Coke Morgan. Jr.
                                                                           Senior United States District Judge




   Said third parties include but are not limited to the National Consumer Law Center that developed a distribution
  formula as well as A.B. Data the Settlement Administrator,
                                                            14
